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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION AT DAYTON

DAVID M. HOPPER, Special Administrator
of the Estate of Robert A. Richardson, Sr.,
                                                          Case No. 3:14-cv-158
        Plaintiff,

vs.

MONTGOMERY COUNTY SHERIFF, et al.,                        Magistrate Judge Michael J. Newman
                                                          (Consent Case)
      Defendants.
_________________________________________________________________________________

                  ORDER OF DISMISSAL; TERMINATION ENTRY
_________________________________________________________________________________

        The Court, having been advised that the above-captioned matter has been settled in its entirety,

ORDERS that this action is hereby CONDITIONALLY DISMISSED, with prejudice as to all

parties, provided that any of the parties may, upon good cause shown within 90 days, reopen the action

if settlement is not consummated. This good cause requirement will be met, for example, if the parties

are unable to obtain approval of the settlement in the probate court. Should the parties require an

extension beyond the 90 days set forth herein, the Court is amenable to extending the deadline upon a

showing of good cause. Within 90 days, the parties may substitute this Order and Entry with a

proposed dismissal entry agreed upon by the parties.

        Parties intending to preserve this Court’s jurisdiction to enforce the settlement should be aware

of Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 381-82 (1994), and incorporate

appropriate language in any substituted judgment entry. The Court will retain jurisdiction to enforce

the terms of the settlement, if necessary.

        IT IS SO ORDERED.


Date:   December 18, 2018                               s/ Michael J. Newman
                                                        Michael J. Newman
                                                        United States Magistrate Judge
